             Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 1 of 12                     FILED
                                                                                      2020 Mar-11 PM 03:45
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                               WESTERN DIVISION

WENDY M. BAUER,                                   )
                                                  )
        Plaintiff,                                )     Civil Action No.:
                                                  )
v.                                                )
                                                  )
PUBLIX SUPER MARKETS, INC.,                       )
                                                  )
        Defendant.                                )     JURY TRIAL DEMANDED

                                      COMPLAINT

                                  NATURE OF CLAIM

        1.       This action is brought to remedy discrimination on the basis of

 disability in the terms, conditions, and privileges of employment, including the

 right to be reasonably accommodated, protected by Americans with Disabilities

 Act.

                              JURISDICTION AND VENUE

        2.       Jurisdiction is conferred upon this Court by virtue of 42 U.S.C.§12101

et seq. and 28 U.S.C. §§ 1331 and 1343.

        2.       Venue in this Court is appropriate for all causes of action stated herein

pursuant to 42 U.S.C. § 12117(a), 42 U.S.C. §2000E-5(f)(3), and 28 U.S.C §1391

because the Defendant is situated within this District and all employment practices

which give rise to this action occurred within this District.
           Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 2 of 12




                                     PARTIES

      3.       Plaintiff Wendy M. Bauer (“Bauer”) is an individual over the age of

19 years, residing in Tuscaloosa County, Alabama.

      4.       At all relevant times, Plaintiff Bauer was a “qualified employee” as

defined by 42 USC §12111(8) of the ADA. Bauer had performed all essential

functions of her job for more than two years prior to being placed on restrictive

duty and with reasonable accommodation could have continued to perform all such

functions.

      5.       Defendant Publix Super Markets Inc., (“Publix”) is a corporation

which does business in Tuscaloosa County, Alabama, and which has a store in

Tuscaloosa, Alabama at which Plaintiff Bauer was employed.

      6.       Defendant Publix is a “covered” employer as defined in 42 USC §

12111(5)(A) of the ADA at all relevant times. Defendant is a grocery store chain

that supplies goods to all parts of the country. Defendant Publix has had thousands

of employees working for it at all relevant times.

                      ADMINISTRATIVE PROCEEDINGS

      7.       Bauer has timely and fully complied with all prerequisites for

administrative exhaustion required for jurisdiction in this court under the ADA and

thus all conditions precedent to this lawsuit within the meaning of Rule 9(c) of the

Fed. R. Civ. Pro. have been performed or have otherwise occurred.


                                          2
           Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 3 of 12




      8.       Specifically, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission on November 30, 2017 and within 180 days

of the complained of action. Plaintiff then received her Right to Sue notice, which

is attached hereto as Exhibit A, from the Equal Employment Opportunity

Commission on or about March 3, 2020. This lawsuit is timely filed within 90 days

of that notice.

                             NO CLAIM PRECLUSION

      9.       On October 24, 2019, Plaintiff filed a Consent to join as an opt-in

plaintiff the lawsuit styled Auito et al. v. Publix Super Markets, Inc. No. 1:19-cv-

04803-LMM [ECF 1-1] (N.D. Ga.), filed in the Northern District of Georgia

against Defendant alleging unpaid overtime, and respectfully requests that the

Court take all actions necessary to allow Plaintiff to pursue the limited scope of

claims she was permitted to assert as an opt-in Plaintiff in the Auito overtime

lawsuit, without prejudicing or estopping in any way her pursuit of the instant

claims in this lawsuit which cannot be raised by opting-in to a collective action for

unpaid overtime under 29 U.S.C. 216(b).

                             STATEMENT OF FACTS

      10.      Plaintiff was initially employed by the Defendant on or about

February of 2004 in Tuscaloosa, Alabama in the position of Cake Decorator.

      11.      Plaintiff was later promoted by Publix to Assistant Bakery


                                           3
        Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 4 of 12




Department Manager, and then, in 2012, to Bakery Department Manager, which is

the position in which she was employed at the time of the events made the basis of

this lawsuit.

      12.       As Bakery Department Manager, Plaintiff’s job was to bake baked

goods, prepare food and grocery items for sale (including taking customer orders

and preparing or otherwise filling the customer’s order), greet and serve customers,

put product out for sale, mix dough, slice bread, pack product, pull product from

the freezer, wash dishes, clean equipment, clean floors, take out trash, stock or

restock food and grocery items in the bakery department, etc.

      13.       In or around March 2017, Plaintiff underwent a surgical procedure to

address a medical issue regarding the physical impairment of her musculoskeletal

system that had been a long-term condition that affected her.

      14.       Plaintiff’s back condition substantially limited her daily and major life

activities including, but not limited to, sleeping, lifting, bending, walking and

general musculoskeletal function.

      15.       For years, the Plaintiff had suffered chronic pain that greatly affected

and limited her.

      16.       Despite her back pain and limitations, prior to the surgery, the

Plaintiff never failed to fully perform the duties of her job.

      17.       However, as a result of the pain and limitations in her back, pursuant


                                             4
        Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 5 of 12




to her doctor’s recommendation, Plaintiff underwent the mitigating measure of

back surgery, which is obviously not something that people in the general

population have to do.

       18.   At all times prior to Plaintiff’s surgery, she was physically and

mentally able to perform her duties and could safely and substantially perform the

essential functions of her job with or without reasonable accommodations and

otherwise met the established requirements of her position and duties.

       19.   Plaintiff notified Defendant of the surgery and was out of work on

FMLA leave for roughly three-and one-half months, during which the Publix

bakery department which she managed, of course, continued to operate without

her.

       20.   Plaintiff’s doctor released her to back to work on July 6, 2017, but

temporarily restricted her to working six hours per day, with four hours standing

and two hours sitting. However, her doctor specifically stated in the documentation

that she provided to Publix that “(t)hese restrictions are for the next 3 months”.

       21.   As such, the Plaintiff did then return to work at her same position,

Bakery Department Manager at Publix, and was able to fully perform her job

duties under those temporary restrictions and with the reasonable accommodation

that Publix did put in place of allowing her to work six-hour days.

       22.   However, after two to three weeks of fully and competently working


                                          5
         Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 6 of 12




with that reasonable accommodation, Publix unilaterally decided to rescind it and

refused to work with the Plaintiff or engage in an interactive process to allow her

to continue to work at her position with any accommodation.

       23.    Instead, Publix informed her that she could no longer keep her

position due to her temporary restriction of working six hours per day, which, at

that point, only applied for eight or nine more weeks.

       24.    Publix told her that that they would not continue to reasonably

accommodate her as they had been, because at Publix, every Department Manager

position was only a full time position, and full time for that position, per the Publix

policy decided at the corporate level, required, at minimum, a 50 hour workweek.

       25.    Plaintiff was told by Publix that she could choose one of two options -

either (involuntarily) resign her Publix employment of thirteen years or accept a

demotion from the Department Manager position that she had earned five years

prior, to a lesser position.

       26.    Publix gave her this forced ultimatum solely because of her temporary

six- hour per day work restriction that would only last eight or nine more weeks.

       27.    Plaintiff suggested numerous options for continued or different

reasonable accommodations to Publix including, but not limited to a part-time or

modified work schedule, and/or temporary modification of her duties, or a time-

limited extension of her medical leave of absence.


                                          6
          Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 7 of 12




       28.      This is despite, upon information and belief, Publix allowing part-time

or modified work schedules, temporary modifications of duties, or leaves of

absence for other employees in the past.

       29.      Defendant responded only by giving Plaintiff a short time to decide

whether to involuntarily resign from Publix or accept a significant demotion

simply because of the temporary six-hour per day restriction. This was

communicated to the Plaintiff by the Publix District Manager.

       30.      The onsite Publix store manager at her store (that had gladly allowed

her to work under the restrictions for the two to three-week period before she was

notified by Publix corporate that there was a problem with it) told her that he

disagreed with what Publix was doing, and that he would have been perfectly fine

with her continuing with the temporary restriction until it was released by her

doctor.

       31.      The onsite Publix store manager at her store told Plaintiff that it was

not a store-level decision to demote or fire her.

       32.      The onsite Publix store manager at her store told Plaintiff that there

had been no problem with how the bakery department had operated during the two

to three-week period that had just occurred in which she worked with the doctor’s

restrictions.

       33.      In fact, at the end of time period that Publix corporate gave the


                                            7
         Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 8 of 12




Plaintiff to decide whether to take a demotion or be fired, during which the

Plaintiff had continued to work under the six hour per day restriction with no

detriment to the store, the onsite Publix store manager intentionally did not press

the issue with the Plaintiff, Publix or the Publix District Manager. As such,

Plaintiff continued to work under the restriction for a time beyond the decision

time.

        34.   However, the Publix District Manager eventually contacted the store

manager and mandated that the Plaintiff be demoted or that her employment would

be terminated.

        35.   Needing to feed her family, Plaintiff reluctantly chose to be demoted

rather than fired, and she was demoted to a lower paying job, still within a Publix

Bakery department, with less privileges and benefits.

        36.   On September 27, 2017, as expected, less than two months after being

demoted by Publix, Plaintiff was officially released from all restrictions by her

doctor. Plaintiff provided written documentation of the same to Publix.

        37.   Plaintiff asked to be reinstated to her previous Bakery Department

Manager position at that time, since the offending temporary restriction no longer

existed, but Defendant would not allow Bauer to regain her previous position.

        38.   Plaintiff worked in the lesser position at Publix for roughly 10 months

until, after having to apply and go through the same promotion processes as any


                                          8
        Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 9 of 12




Publix employee, Plaintiff was again promoted to a Bakery Department Manager.

      39.    However, she had suffered a loss of compensation, bonuses, vacation

time that she had accrued as a department manager, and other benefits as a result of

the demotion, which she has never recovered.

      40.    Plaintiff further had a permanent loss of some other benefits, such as

retirement benefits, that required continuing and uninterrupted time in a manager

position.

                                      COUNT I
                          ADA: Disability Discrimination

      41.    Plaintiff adopts and re-alleges each and every allegation contained in

paragraphs 1-40 as if fully set out herein.

      42.    At the time of Plaintiff’s demotion, Plaintiff had a disability as

defined by the ADA.

      43.    At the time of Plaintiff’s demotion, Plaintiff had a physical

impairment that substantially limited one or more of her major life functions.

      44.     Plaintiff did in fact have a physical impairment related to her back

condition, has a record of such impairment, and was regarded as having such

impairment by Defendant.

      45.    At the time of Plaintiff’s demotion, Defendant knew that Plaintiff had

a disability, as disability is defined by the ADA.


                                              9
       Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 10 of 12




      46.   Plaintiff was able to perform the essential job functions of her position

and other positions with Defendant provided Plaintiff received any reasonable

accommodation.

      47.   Plaintiff would have been able to continue performing her job as

Bakery Department Manager if she had been reasonably accommodated with a

part-time or modified work schedule, and/or temporary modification of her duties,

or a time-limited extension of her medical leave of absence.

      48.   Plaintiff tried to engage the Defendant in an interactive process

regarding accommodating Plaintiff’s disability.

      49.   Plaintiff suggested accommodations to Publix.

      50.   Defendant’s sole response to Plaintiff’s suggested accommodation

was that she would have the choice of resigning from Publix or accepting

employment at a part-time cake decorator position because Publix required its

department managers to work a minimum of 50 hours a week.

      51.   Publix did not specifically address or discuss with Plaintiff any of her

suggested accommodations.

      52.   Defendant intentionally, with malice and reckless indifference of

Plaintiff’s rights, violated the ADA by refusing to accommodate her disability and

demoting her, despite knowing that the ADA required such accommodations.

      53.   As the direct and proximate result of the Defendant's actions set forth


                                        10
       Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 11 of 12




above, Plaintiff has suffered lost wages, bonuses, compensation, benefits,

humiliation, embarrassment, loss of self-esteem, physical and mental/emotional

distress and inconvenience.

      54.      The Defendant willfully violated the ADA or with reckless disregard

for whether its actions were prohibited such that an award of punitive damages is

appropriate.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter judgment in her favor and against the Defendant and award Plaintiff:

      A)       Backpay;

      B)       Compensatory damages for loss of wages, bonuses or other

               compensation, loss of any and all benefits including, but not limited to

               retirement benefits and accrued vacation benefits, mental anguish,

               emotional distress, embarrassment, both past and future;

      C)       Injunctive Relief;

      D)       Punitive damages;

      E)       Pre-judgment interest;

      F)       Reasonable attorney’s fees and costs; and

      G)       Such other legal or equitable relief as may be appropriate to effectuate

               the purposes of the ADA or to which she may be entitled.




                                           11
       Case 7:20-cv-00334-LSC Document 1 Filed 03/11/20 Page 12 of 12




Respectfully submitted this 11th day of March, 2020.

                                             /s/ David A. Hughes
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          PLAINTIFFS REQUEST A TRIAL BY STRUCK JURY.


                                             /s/ David A. Hughes
                                             OF COUNSEL



Service Address:

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6 Office Park Circle #100
Mountain Brook, AL 35223




                                        12
